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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF ILLINOIS
                                 EAST ST. LOUIS DIVISION

                                                    )
RONALD G. BRUMMET III,                              )
           Plaintiff,                               )
                                                    )
       v.                                           ) Cause No. 3:17-cv-00106-SMY-DGW
                                                    )
SNYDER & ASSOCIATES, LLC.,                          )
          Defendant.                                )

                                  NOTICE OF DISMISSAL

       Plaintiff, Ronald G. Brummet III, by and through undersigned counsel, pursuant to Federal

Rule of Civil Procedure 41(a)(1)(A)(i), hereby dismisses Defendant, Snyder & Associates, LLC,

without prejudice.

       Date: November 1, 2018


                                            Respectfully submitted,

                                            /s/ Travis W. Cohron
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 1, 2018, a copy of the foregoing was filed electronically.
Notice of this filing will be made on all ECF-registered counsel by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.


                                              /s/ Travis W. Cohron
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